                                               Case
                                                Case3:15-cr-00061-HDM-BNW
                                                      3:15-cr-00061-HDM-WGC Document
                                                                            Document246  Filed 03/14/16
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                                                   BRET O. WHIPPLE, ESQ.
                                               1
                                                   Nevada Bar No. 6168
                                               2   JUSTICE LAW CENTER
                                                   1100 S. Tenth Street
                                               3   Las Vegas, Nevada 89104
                                                   (702) 731-0000
                                               4
                                                   Fax (702) 974-4008
                                               5
                                                                              UNITED STATES DISTRICT COURT
                                               6
                                               7                                     DISTRICT OF NEVADA

                                               8    UNITED STATES OF AMERICA,
1100 South Tenth Street, Las Vegas NV 89104




                                                                                                    Case No.: 3:15-CR-00061
   Tel (702) 731-0000 Fax (702) 974-4008




                                               9                       Plaintiff,
                                              10                                                    REQUEST TO EXCUSE DEFENDANT
         JUSTICE LAW CENTER




                                                    vs.                                             MELISSA ANDRADE-GARCIA’S
                                              11                                                    PERSONAL APPEARANCE AT THE
                                                    ANDRES RODRIGUEZ,                               ARRAIGNMENT AND ORDER
                                              12    EDWARD SMITH,                                   THEREON
                                              13    KRYSTAL JOHNSON,
                                                    BRIAN FOX,
                                              14    DALLAS ROBINSON,
                                                    TODD CANTWELL,
                                              15    ALEXIS PATTON,
                                              16    NATALIE CONBOY,
                                                    ALYSSA HOLMES,
                                              17    MELISSA ANDRADE-GARCIA
                                                    CELENA PENFOLD,
                                              18
                                                    NICOLE VALENCIA,
                                              19
                                                                       Defendants.
                                              20
                                              21
                                                          Certification: This motion is timely filed, no time limit being applicable.
                                              22
                                                          COMES NOW, Defendant, MELISSA ANDRADE-GARCIA, by and through his CJA
                                              23
                                              24   appointed counsel, BRET O. WHIPPLE, ESQ., and hereby requests this Court excuse Ms.

                                              25   Andrade-Garcia’s personal appearance before the Court at the Arraignment for the Second
                                              26   Superseeded Indictment currently scheduled for March 16, 2016 at 2:30 p.m. Ms. Andrade-
                                              27
                                                   Garcia resides in Nampa, Idaho and is currently in compliance with the conditions of her pretrial
                                              28


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                                               Case
                                                Case3:15-cr-00061-HDM-BNW
                                                      3:15-cr-00061-HDM-WGC Document
                                                                            Document246  Filed 03/14/16
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                                                   release. The Defendant is not charged with additional Counts in the Second Superseeded
                                               1
                                               2   Indictment and the Defendant consents to having her Counsel enter a plea on her behalf.

                                               3   .      DATED this 11th day of March, 2016.         JUSTICE LAW CENTER
                                               4
                                                                                                             /s/ Bret Whipple
                                               5                                                      Bret O. Whipple, Esq.
                                                                                                      Nevada Bar No. 6168
                                               6                                                      1100 S. Tenth Street
                                               7                                                      Las Vegas, Nevada 89104
                                                                                                      (702) 731-0000
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1100 South Tenth Street, Las Vegas NV 89104
   Tel (702) 731-0000 Fax (702) 974-4008




                                               9                                               ORDER
                                              10
         JUSTICE LAW CENTER




                                                               The court, having considered Defendant Andrade-Garcia’s Motion to Waive
                                              11       Defendant Melissa Andrade-Garcia’s Personal Appearance at the Arraignment (ECF No.
                                                       237), and the Errata thereto (ECF No. 244) which contained Defendant’s signed consent to
                                              12       representation by her attorney (ECF No. 244-1), and good cause appearing,
                                              13
                                                              Defendant’s motion to waive personal appearance at her arraignment on March 16,
                                              14       2016 (ECF No. 237) is GRANTED.
                                              15
                                                              IT IS SO ORDERED.
                                              16
                                              17
                                                              DATED: March 15, 2016.

                                              18                                                   ____________________________________
                                                                                                   WILLIAM G. COBB
                                              19                                                   UNITED STATES MAGISTRATE JUDGE
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